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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

 SHONDRA L. WILLIAMS,                                 §
                                                      §
       Plaintiff,                                     §
                                                      §
 v.                                                   §      Civil Action No. 4:19-cv-00370-O
                                                      §
 THE KROGER CO.,                                      §
                                                      §
       Defendant.                                     §


                                         SCHEDULING ORDER

I.        SUMMARY OF CRITICAL DATES

     Deadline for Motions for Leave to Join               August 16, 2019
     Parties or Amend Pleadings (¶ 2)
     Initial Expert Designation & Report (¶ 4 a.)         November 15, 2019
     Responsive Expert Designation & Report (¶            December 16, 2019
     4 b.)
     Rebuttal Expert Designation (¶ 4 c.)                 30 days after disclosure made by other party
     Expert Objections (¶ 4 d.)                           June 8, 2020
     Dispositive Motions (¶ 3)                            March 16, 2020
     Mediation (¶ 5)                                      January 15, 2020
     Completion of Discovery (¶ 6)                        February 14, 2020
     Pretrial Disclosures and Objections (¶ 7)            June 3, 2020 Objections due 14 days
                                                          thereafter
     Pretrial Materials (pretrial order etc.)(¶ 8)        June 18, 2020
     Exchange of Exhibits (¶ 9)                           June 29, 2020
     Pretrial Conference (¶ 11)                           To be set if necessary.
     Trial Date (¶ 1)                                     July 13, 2020




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II.     SCHEDULING INSTRUCTIONS

        Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and the local rules of this

Court (except as modified herein), the Court, having considered the status report submitted by the

parties, finds that the following schedule should govern the disposition of this case:

        Unless otherwise ordered or specified herein, all limitations and requirements of the

Federal Rules of Civil Procedure and the local rules of this Court must be observed.

        Please note that the Court has attempted to adhere to the schedule requested by the

parties. In so doing, the Court assumes that the parties thoroughly discussed scheduling

issues prior to submitting their status report and that the parties understand that the

deadlines imposed in this Order are firmly in place, absent the few exceptions set forth below.

        1.     Trial Date: This case is set for trial on this Court’s four-week docket beginning

               July 13, 2020. Counsel and the parties shall be ready for trial on two days’ notice

               at any time during this four-week period.

        2.     Joinder of Parties or Amendment of Pleadings: By August 16, 2019, all motions

               requesting joinder of additional parties or amendments of pleadings shall be filed.

        3.     Dispositive Motions: By March 16, 2020, all motions that would dispose of all

               or any part of this case (including motions for summary judgment) shall be filed.

        4.     Experts:

               a. Initial Designation of Expert(s): Unless otherwise stipulated or directed by
               order, the party with the burden of proof on the issue subject to the expert
               designation shall file a written designation of the name and address of each expert
               witness who will testify at trial for that party and shall otherwise comply with Rule
               26(a)(2) of the Federal Rules of Civil Procedure on or before November 15, 2019.
               (Unless otherwise noted, all references to Rules in this Order shall refer to the
               Federal Rules of Civil Procedure.)

               b. Responsive Designation of Expert(s): Each party without the burden of proof
               on the issue subject to expert designation shall file a written designation of the name

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        and address of each expert witness who will testify at trial for that party and shall
        otherwise comply with Rule 26(a)(2) on or before December 16, 2019.

        c. Rebuttal Expert(s): If the evidence is intended solely to contradict or rebut
        evidence on the same subject matter identified by another party under Rule
        26(a)(2)(B), the disclosures required under Rule 26(a)(2) shall be made within 30
        days after the disclosure made by the other party.

        d. Challenges to Experts: The parties are directed to file any objections to, or
        motions to strike or exclude expert testimony (including Daubert motions), no later
        than June 8, 2020. No challenges to experts shall be filed prior to March 16,
        2020 without obtaining leave of court.

  5.    Mediation Deadline: The parties shall jointly select a mediator and mediate on or

        before January 15, 2020. Within seven days after the mediation, the parties shall

        jointly prepare and file a written report, which shall be signed by counsel for

        each party, detailing the date on which the mediation was held, the persons present

        (including the capacity of any representative), and a statement informing the Court

        of the effect of their mediation and whether this case has been settled by agreement

        of the parties.

  6.    Completion of Discovery: By February 14, 2020, all discovery—including

        discovery concerning expert witnesses—shall be completed. The parties may agree

        to extend this discovery deadline, provided (a) the extension does not affect the

        trial setting, dispositive motions deadline, challenges to experts deadline, or pretrial

        submission dates; and (b) written notice of the extension is given to the Court.

  7.    Pretrial Disclosures and Objections: Unless otherwise directed by order, the

        parties must make the disclosures required by Rule 26(a)(3)(A)-(B) by June 3,

        2020. With respect to the identification of witnesses who will be called by

        deposition, the parties must also identify the portions of the deposition transcript

        that they intend to use. (Modification of Rule 26(a)(3)(A)(ii)). Within 14 days

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                thereafter, a party must serve and file a list disclosing any objections, together

                with the grounds therefor, to: (a) the use under Rule 32(a) of a deposition designated

                by another party under Rule 26(a)(3)(A)(ii); (b) the admissibility of materials

                identified under Rule 26(a)(3)(A)(iii); and (c) the use of any witnesses (except for

                expert objections) identified under Rule 26(a)(3)(A)(i)1, if any. Objections not so

                disclosed, other than objections under Rules 402 and 403 of the Federal Rules of

                Evidence, are waived unless excused by the Court for good cause.

        8.      Pretrial Materials: By June 18, 2020 except as otherwise noted below, all

                pretrial materials shall be filed. Specifically, by this date:

                a. Pretrial Order: A joint pretrial order shall be submitted by the Plaintiff's
                attorney which covers each of the matters listed in Local Rule 16.4 and which states
                the estimated length of trial. If an attorney for either party does not participate in
                the preparation of the joint pretrial order, the opposing attorney shall submit a
                separate pretrial order with an explanation of why a joint order was not submitted
                (so that the Court can impose sanctions, if appropriate). Each party may present its
                version of any disputed matter in the joint pretrial order; therefore, failure to agree
                upon content or language is not an excuse for submitting separate pretrial
                orders. (Modification of Local Rule 16.4). When the joint pretrial order is
                approved by the Court, it will control all subsequent proceedings in this case. If
                submitted on paper, the parties must submit the original and one copy of the
                proposed pretrial order (styled as the “Pretrial Order”) directly to the Court’s
                chambers. Do not file it with the clerk. The Court will direct the clerk to file it
                after the Court signs it. The proposed pretrial order must be transmitted to the
                electronic     address      used     for     receipt      of     proposed        orders
                (o’connor_orders@txnd.uscourts.gov) no later than June 19, 2020.

                b. Witness List: A list of witnesses shall be filed by each party, which divides
                the persons listed into groups of “probable witnesses,” “possible witnesses,”
                “experts,” and “record custodians” and which provides:

                         (i) the name and address of each witness;




        1
          Requiring parties to file objections to witnesses disclosed under Rule 26(a)(3)(A)(i) is a
modification of the requirements of Rule 26(a)(3)(B), which only requires that the parties file objections to
deposition designations (Rule 26(a)(3)(A)(ii)) and exhibits (Rule 26(a)(3)(A)(iii)).

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                        (ii) a brief narrative summary of the testimony to be covered by each

                        witness;

                        (iii) whether the witness has been deposed; and

                        (iv) the expected duration of direct or cross-examination of the witness.2

                        The Witness list will include three columns. The first column will contain
                        a brief statement of the subject matter to be covered by a particular witness.
                        The second column will bear the heading “Sworn” and the third column will
                        bear the heading “Testified” so that the Court can keep track of the
                        witnesses at trial.

                        If any witness needs an interpreter, please note this on the witness list. It is
                        the obligation of the party offering such a witness to arrange for an
                        interpreter to be present at trial.

                        (Modification of Local Rule 26.2(b))


                c. Exhibit List and Deposition Testimony Designations: A list of exhibits
                (including demonstrative exhibits) and a designation of portions of depositions
                to be offered at trial shall be filed by each party. The list of exhibits shall describe
                with specificity the documents or things in numbered sequence. The documents or
                things to be offered as exhibits shall be numbered by attachment of gummed labels
                to correspond with the sequence on the exhibit list and identify the party submitting
                the exhibit. (Modification of Local Rule 26.2(b), (c)). Do not use letter suffixes to
                identify exhibits (e.g., designate them as 1, 2, 3, not as 1A, 1B, 1C). The Exhibit
                list will include two columns, one bearing the heading “Offered” and the other
                bearing the heading “Admitted.”

                Each party’s exhibit list shall be accompanied by a written statement, signed by
                counsel for each party and state that, as to each exhibit shown on the list,

                        (i) the parties agree to the admissibility of the exhibit; or

                        (ii) the admissibility of the exhibit is objected to, identifying the nature and
                        legal basis of any objection to admissibility and the name(s) of the party or
                        parties urging the objection.

        2
          Pursuant to Rule 16(c)(2)(O) and Section VII of the United States District Court for the Northern
District of Texas Civil Justice Expense and Delay Reduction Plan, the Court may impose a reasonable limit
on the time allowed for presenting evidence in this case. See Commentary - 1993 Amendment to the
Federal Rules of Civil Procedure (court should ordinarily impose time limits only after receiving
appropriate submissions from the parties).

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                All parties shall cooperate in causing such statements to be prepared in a timely
                manner for filing with the exhibit lists. Counsel for the party proposing to offer an
                exhibit shall be responsible for coordinating activities related to preparation of such
                a statement as to the exhibit the party proposes to offer. This includes an obligation
                to make exhibits available for inspection in advance of the deadline for filing
                exhibit lists where a party needs to see exhibits to assess admissibility. The Court
                may exclude any exhibit offered at trial unless such a statement regarding the
                exhibit has been filed in a timely manner. In addition, objections not identified in
                the statement may be waived.

                A list of each party’s exhibits to which no objection will be lodged (preadmitted)
                must be submitted at the pretrial conference.3 The Court expects the parties to
                confer and agree to admit the majority of their exhibits prior to trial.

                d. Jury Charge: Requested jury instructions and questions (annotated)4 shall
                be filed as set forth below. In order to minimize time after commencement of the
                trial in resolving differences in the language to be included in the Court’s charge to
                the jury:

                         (i)     Counsel for the Plaintiff shall deliver to counsel for Defendant by
                                 June 8, 2020 a copy of its proposed Court’s charge to the jury.

                         (ii)    Counsel for Defendant shall deliver to counsel for the Plaintiff by
                                 June 10, 2020 (A) a statement, prepared with specificity, of any
                                 objection his client had to any part of the proposed charge that
                                 counsel for Plaintiff has delivered pursuant to this paragraph and (B)
                                 the text of all additional instructions or questions his client wishes
                                 to have included in the Court’s charge to the jury. Each objection
                                 and each such request shall be accompanied by citations of
                                 authorities supporting defendant’s objection or request.

                         (iii)   At 10:00 a.m. on June 12, 2020, the lead attorneys for the parties to
                                 this action shall meet face-to-face at either (A) a mutually agreeable
                                 place, or (B) at the office of counsel for the Plaintiff located in Ft.
                                 Worth, Texas or within 50 miles of the Ft. Worth Division of the
                                 Northern District of Texas, for the purposes of (1) discussing, and
                                 trying to resolve, differences between the parties as to language to
                                 be included in the Court’s charge to the jury and (2) identifying areas

        3
           This does not change the sequential manner in which each side should number its exhibits. In
other words, a party should not separately number its exhibits into “objected to” and “unobjected to”
categories.
         4
           “Annotated” means that each proposed instruction shall be accompanied by citation to statutory
or case authority and/or pattern instructions. It is not sufficient to submit a proposed instruction without
citation to supporting authority.

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                       of disagreement that cannot be resolved. Such meeting shall be held
                       for a sufficient length of time for there to be a meaningful discussion
                       of all areas of disagreement and a meaningful attempt to accomplish
                       agreement. Each attorney shall cooperate fully in all matters related
                       to such a meeting.

               (iv)    By 2:00 p.m. on June 15, 2020 counsel for Plaintiff shall file a
                       document titled “Agreed Charge” which in a single document shall
                       contain, in logical sequence, all language to be included in the
                       charge, including jury instructions and jury questions, about which
                       the parties do not have disagreement and all language either party
                       wishes to have included in the charge about which there is
                       disagreement. All language of the proposed charge about which
                       there is disagreement shall be (A) in bold face, (B) preceded by an
                       indication of the identity of the party requesting the language, and
                       (C) followed by a listing of citations of authorities in favor of and in
                       opposition to the proposed language. Objections may be waived if
                       not stated in the Agreed Charge.


        Plaintiff must also send, in a WordPerfect-compatible format, the Agreed Charge
        to: o’connor_orders@txnd.uscourts.gov and include the case number and the
        document number of the referenced motion in the subject line.

        e. Limited Number of Motions in Limine: Motions in limine should not be filed
        as a matter of course. If filed, counsel must file them with the Court and serve them
        on the opposing party by June 15, 2020. Responses must be filed with the Court
        and served on the opposing party by June 29, 2020. Replies to responses are not
        permitted except by leave of Court. Parties may file motions in limine on no more
        than TEN discrete topics (no subparts) that are actually in dispute. (good faith
        compliance with the conference requirements of Local Rule 7.1 will help to narrow
        issues that are actually in dispute). Motions in limine that contain boilerplate
        requests, that exceed ten topics or that cover undisputed issues will be stricken.

        f. Voir Dire: The parties shall file any proposed voir dire questions which the
        Court is requested to ask during its examination of the jury panel by June 22, 2020.

        g. Trial Briefs: Trial briefs may be filed by each party. In the absence of a specific
        order of the Court, trial briefs are not required, but are welcomed. The briefing
        should utilize Fifth Circuit and/or Supreme Court authority or relevant state
        authority to address the issues the parties anticipate will arise at trial.

        NOTE: Deadlines in this order regarding pretrial materials are dates for filing or
        delivery, not mailing dates.


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  9.    Exchange of Exhibits: No later than June 29, 2020, counsel for each party

        intending to offer exhibits shall exchange a complete set of marked exhibits

        (including demonstrative exhibits) with opposing counsel and shall deliver a set

        of marked exhibits to the Court’s chambers (except for large or voluminous

        items that cannot be easily reproduced).


  10.    Settlement Conference and Status Report:
        a. Settlement Conference: No later than June 29, 2020, the parties and their
        respective lead counsel shall hold a face-to-face meeting to discuss settlement of
        this case. Individual parties and their counsel shall participate in person, not by
        telephone or other remote means. All other parties shall participate by a
        representative or representatives, in addition to counsel, who shall have unlimited
        settlement authority and who shall participate in person, not by telephone or other
        remote means. If a party has liability insurance coverage as to any claim made
        against that party in this case, a representative of each insurance company providing
        such coverage, who shall have full authority to offer policy limits in settlement,
        shall be present at, and participate in, the meeting in person, not by telephone or
        other remote means. At this meeting, the parties shall comply with the requirements
        of Local Rule 16.3.

        b. Joint Settlement Report: Within seven days after the settlement conference,
        the parties shall jointly prepare and file a written report, which shall be signed
        by counsel for each party, detailing the date on which the meeting was held, the
        persons present (including the capacity of any representative), a statement
        regarding whether meaningful progress toward settlement was made, and a
        statement regarding the prospects of settlement.

  11.    Pretrial Conference: A pretrial conference will be conducted, in person, if the

        Court determines such a conference is necessary. If the Court anticipates imposing

        time limits on the presentation of evidence that significantly reduces the parties’

        estimated trial length, the Court will schedule a pretrial conference and advise of

        such deadlines so that counsel will have reasonable notice of such limits. Lead

        counsel for each party must attend, or, if the party is proceeding pro se, the party

        must attend. Fed. R. Civ. P. 16 (c)(1) & (e). Lead counsel and pro se parties must



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        have the authority to enter into stipulations and admissions that would facilitate the

        admission of evidence and reduce the time and expense of trial. Id. All pretrial

        motions not previously decided will be resolved at that time, and procedures for

        trial will be discussed. At the final pretrial conference, it should be possible to

        assign the specific date for trial during the four-week docket. Telephone calls

        about the probable trial date prior to the final pretrial conference will not

        likely be beneficial to counsel or the Court staff.

  12.    Modification of Scheduling Order: As addressed above, this Order shall control

        the disposition of this case unless it is modified by the Court upon a showing of

        good cause and by leave of court. Fed. R. Civ. P. 16(b)(4). Conclusory statements

        will usually not suffice to show good cause, even if the motion is agreed or

        unopposed. Moreover, the Court does not grant motions to modify the scheduling

        order as a matter of course. Any request that the trial date of this case be modified

        must be made (a) in writing to the Court, (b) before the deadline for completion

        of discovery, and (c) in accordance with the United States District Court for the

        Northern District of Texas Civil Justice Expense and Delay Reduction Plan ¶

        V and Local Rule 40.1 (motions for continuance must be signed by the party as

        well as by the attorney of record).

  13.    Sanctions: Should any party or counsel fail to cooperate in doing anything

        required by this Order, such party or counsel or both may be subject to sanctions.

        If the plaintiff does not timely file the required (or other) pretrial material, the case

        will be dismissed. If the defendant/third party does not timely file the required (or

        other) pretrial material, a default will be entered or the defendant/third party will



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         not be permitted to present witnesses or exhibits at trial. Fines or other sanctions,

         if appropriate, may also be imposed under Rule 16(f). Failure to list a witness,

         exhibit, or deposition excerpt as required by this Order shall be grounds for

         exclusion of that evidence. This does not apply to testimony, exhibits, or deposition

         excerpts offered for impeachment; further, the use of unlisted witnesses, exhibits,

         or deposition excerpts for rebuttal shall be permitted if the attorneys could not have

         reasonably anticipated their need for that evidence.

   14.   Electronic Filing Procedures: This case has been designated for enrollment in

         the Electronic Case Filing System (CM/ECF). (For more information on the ECF

         system, please see http://www.txnd.uscourts.gov/filing/ecf.html). Now that the

         case is designated an ECF case, all documents must be filed electronically;

         however, the Court still requires that courtesy copies of dispositive motions (and

         accompanying briefs and appendices) be sent to Chambers. Proposed orders are

         required to be submitted with EVERY motion. (Modification to Local Rule

         7.1(c)). Proposed orders must be submitted via e-mail in a Word or WordPerfect-

         compatible format as instructed in the CM/ECF system’s “Proposed Orders” Event.

         The proposed orders must be e-mailed to: o’connor_orders@txnd.uscourts.gov.

         Include the case number and the document number of the referenced motion in the

         subject line.

   15.   Citations: All briefs filed with the Court shall comply with the most recent edition

         of The Bluebook: A Uniform System of Citation. Particularly, counsel are directed

         to provide, where applicable, the subsections of cited statutes, and to provide

         pinpoint citations when citing cases, i.e., provide the page where the stated legal



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         proposition can be found. See Bluebook Rules 3.2-3.4 (Columbia Law Review

         Ass’n et al. eds, 20th ed. 2015) (regarding pinpoint citations and subsections).

         Furthermore, if a brief contains citations to unpublished opinions or to LEXIS,

         counsel must attach copies of those cases to the brief.

   16.   Notice: Each attorney of record and any unrepresented party must review and

         adhere to the Local Civil Rules of the Northern District of Texas, which may be

         accessed       at      http://www.txnd.uscourts.gov/rules/localrules/lr_civil.html.

         Additionally, each attorney of record and any unrepresented party must review and

         abide by the standards of litigation conduct for attorneys appearing in civil actions

         in the Northern District of Texas, as outlined in Dondi Properties Corp. v.

         Commerce Savings & Loan, 121 F.R.D. 284 (N.D. Tex. 1988) (en banc), which

         may be accessed at http://www.txnd.uscourts.gov/publications/index.html.

   17.   Inquiries: Questions relating to this scheduling order or legal matters should be

         presented in a motion, as appropriate. Questions regarding electronic notice or

         electronic case files shall be directed to the Help Desk at 1-866-243-2866. If any

         electronic equipment is needed in the courtroom, notify Brian Rebecek, Fort Worth

         Division Manager, at 817-850-6613.

   SO ORDERED on this 17th day of June, 2019.


                                             _____________________________________
                                             Reed O’Connor
                                             UNITED STATES DISTRICT JUDGE




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